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                       IN THE UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF ARKANSAS
                                CENTRAL DIVISION

 TIMOTHY MARTINEZ                                                              PLAINTIFF

 v.                                        No. 4:20-cv-01148-BSM

CHARLES “DOC” HOLLADAY, individually and
in his official capacity as former Sheriff of
Pulaski County, Arkansas; ERIC HIGGINS,
in his official capacity as Sheriff of Pulaski County,
Arkansas; DEPUTY MURPHY, individually and
In his official capacity as a deputy with the Pulaski
County Sheriff’s Office; TURN KEY HEALTH
 CLINICS, LLC; CORIZON HEALTH, INC.; and
JANE and JOHN DOES 1-50                                                       DEFENDANTS


        MOTION FOR VOLUNTARY DISMISSAL WITHOUT PREJUDICE

         Comes now, Timothy Martinez, by and through his attorney, Eugene Clifford,

for her Motion for Voluntary Dismissal without prejudice, states the following:

      1. Plaintiff desires to take a voluntary dismissal without prejudice.

      WHEREFORE, the Plaintiff prays this Court for good cause shown will grant the

      voluntary dismissal without prejudice and for any such relief the Court sees as just

      and equitable.


                                                         Respectfully submitted,


                                                         Eugene Clifford
                                                         Ark. Bar
                                                         No.2012100
                                                         1014 W. 3rd St.
                                                         Little Rock, Arkansas 72201
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                           CERTIFICATE OF SERVICE

I, Eugene Clifford, certify that a copy was sent through electronic filing to all parties
necessary.

                                               Eugene Clifford




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